Case No. 1:20-cr-00152-PAB Document 597-6 filed 10/07/21 USDC Colorado pg 1 of 2




                             EXHIBIT I
    Case No. 1:20-cr-00152-PAB Document 597-6 filed 10/07/21 USDC Colorado pg 2 of 2


From:             securefilecollaboration@doc.gov
Sent:             Tuesday, September 8, 2020 11:12 AM
To:               Taylor, Lanard D. (CID) (FBI) <ldtaylor@fbi.gov>; Call, Heather (ATR)
                  <Heather.Call@usdoj.gov>; Butte, Laura (ATR) <Laura.Butte@usdoj.gov>
Subject:          LITTLE Interview




                                                          St CURE HIE
                                                          COLLABORATION




               Koppenhaver, Matthew sent you a secure message
        Please see the attached revised copy of the LITTLE interview. Please delete earlier
        copies.


        Respectfully
        Matt



                                                  Access message



                                                  [secured by kiteworksl




        ®      Attachments expire on Oct 08, 2020



               1 PDF
               IRF--lnterview of Jimmie Lee Little.pdf



        This message requires that you sign in to access the message and any file attachments.
